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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

  NAVY SEAL # 1, et al.,

                             Plaintiffs,
                                                        Case No. 8:21-cv-02429-SDM-TGW
        v.

  JOSEPH R. BIDEN, JR., in his official
  capacity as President of the United States, et al.,

                             Defendants.

      DEFENDANTS’ NOTICE REGARDING WITNESSES AND EXHIBITS

         Defendants respectfully provide notice that they do not presently intend to

  present new witnesses or exhibits at the evidentiary hearing on April 28, 2022. ECF

  No. 174. Defendants rest on materials previously submitted or cited in connection

  with the Plaintiffs’ original and renewed motions for a preliminary injunction,

  Plaintiffs’ several other motions for emergency relief (including as to USAFA Cadet),

  Plaintiffs’ Motion for Class Certification, Defendants’ Motion to Dismiss, and

  Defendants’ stay motion, including material provided at previous hearings. See, e.g.,

  ECF Nos. 23, 42, 66, 73, 74, 103, 118, 132, 139, 140, 167, 171. This material is all

  appropriate for consideration at the preliminary injunction stage. See Levi Strauss & Co.

  v. Sunrise Int'l Trading, Inc., 51 F.3d 982, 985 (11th Cir. 1995) (considering declarations

  that would not be admissible at trial); Stuart J. Kaufman, M.D. & Associates, P.A. v.

  Bausch & Lomb Inc., No. 8:13-CV-461-T-33EAJ, 2013 WL 6154166, at *1 (M.D. Fla.

  July 25, 2013) (“The Federal Rules of Evidence do not strictly apply at the preliminary
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  injunction stage.”), report and recommendation adopted, No. 8:13-CV-461-T-33EAJ,

  2013 WL 12123679 (M.D. Fla. Sept. 4, 2013).

           To assist the Court, Defendants list here the exhibits that are most likely to be

  relevant to the Cadet’s motion.

   ECF No. of               Title
   Exhibit
   167-2                    Declaration of Major Alyssa S. Tetrault (April 12, 2022)

   167-3                    Declaration of Colonel Tonya Rans (April 8, 2022)

   167-4                    Declaration of Lieutenant Colonel Scott Robinson, M.D.

                            (April 14, 2022)

   167-5                    DMED Information Paper (February 15, 2022)

   171-1 and 171-2          Cadet RAR Package

   157-1                    Declaration of USAFA Cadet

   23-4                     DoD Instruction 6205.2

   23-5                     AF Instruction 48-110_IP (aka Army Regulation 40-562)

                            (also cited in ECF No. 23-22).

   23-10                    Secretary of the Air Force Mem. (Sept. 3, 2021)

   23-11                    Dep’t of the Air Force COVID-19 Vaccine Implementation

                            Guidance (Sept. 3, 2021)

   23-12                    Congressional Research Report Defense Health Primer:

                            Military Vaccinations

   23-13                    Declaration of Peter Marks


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   23-22                    Declaration of Chaplain, Major Matthew J. Streett (also

                            citing a document of which the Court may take judicial

                            notice: AFI 52-201 - Religious Freedom in the Department

                            of   the   Air    Force,    available   at   https://static.e-

                            publishing.af.mil/production/1/af hc/publication/dafi52-

                            201/dafi52-201.pdf , also cited in other declarations)

   42-1                     Declaration of Major General Sharon R. Bannister

   47-5                     Declaration of Col. Jason Holbrook

   47-6                     Declaration of Chaplain, Major Matthew J. Streett

   47-7                     Declaration of Col. Artemio C. Chapa

   66-7                     Decl. of Colonel James R. Poel

   74-1                     DoD Instruction 1332.45, Retention Determination for Non-

                            Deployable Service Members

   74-6                     Decl. of Col. Artemio Chapa

   103-1                    Decl. of Technical Sergeant Tasha L. Johnson

   105                      Second Amended Verified Class Action Complaint

   139-2                    Decl. of Major Alyssa S. Tetrault




  Respectfully submitted,

  BRIAN M. BOYNTON
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  Civil Division

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  4/27/2021




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